Case 1:18-cV-02435-RDI\/| Document 13 Filed 04/01/19 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

JUsTrNE HURRY,
Plainriff, NO. 1;18-cv-2435 (RDM)

V.

FEDERAL DEPOSIT INSURANCE CORPORATION,
JOHN R. JILOVEC, and HILARY L. HOSKINS,

Defendants.

 

 

STIPULATED PROTECTIVE ORDER

WHEREAS, this Stipulated Protective Order (“Pl'otective Ol'dcr”) is stipulated and
agreed to on this 21st day of l\/larch, 2019 by and between the undersigned counsel for Plaintiff
Justine Hurry (“HM[’) and Defendants the Federal Deposit lnsurance Corporation, in its
corporate capacity (“M”), John R. Jilovec, FDIC Deputy Regional Director, and Hilary L.
Hoskins, FDIC Case Manager (collectively, the “FDIC Defendants”), in the above-captioned
action; and

WHEREAS, HURRY and the FDIC Defendants agree that certain documents
constituting the Administrative Record in this case contain materials subject to protection from
disclosure under, inter alia, the bank-examination privilege, deliberative process privilege, and
other applicable privileges, and otherwise contain personally identifiable information (“_Rll”) and
otherwise sensitive financial information;

NOW THEREFORE, the undersigned parties agree and the Court hereby orders the

following:

Case 1:18-cV-02435-RDI\/| Document 13 Filed 04/01/19 Page 2 of 6

l. For purposes of this Protective Order, “Con'lidential Records” includes the
documents set forth on the FDIC’s Certified List of Contents of the Adininistrative Record (ECF
No. ll, annexed hereto (“Exhi`bil A”). Further, Confidential Records shall include any
documents identified in any amendments or modifications of Exhibil A, and any such
amendment or modification shall be_ effective, without need for approval by the Court, upon
agreement by the parties.

2. Confidential Records shall be held strictly confidential and may be examined and
used only in connection with this litigation and any disputes related thereto.

3. Subject to the procedures set forth in Paragraph 5, no documents containing, or
otherwise disclosing Confidential Records shall be publicly filed with the Court. Confidential
Records shall be submitted to the Court under seal as follows: (i) the original signed copy of any
pleading containing, referring to, or otherwise disclosing Confidential Records, plus a file copy,
shall be filed with the Clerl< of the Court in the normal manner under the Local Rules of this
Court, but the Confidential Records contained, referred to, or otherwise disclosed therein shall be
redacted (and bear the stamp “REDACTED”) so that such records do not appear in the filed copy
of the pleading or filing; and (ii) in accordance with Local Rule 5.l(h), a second copy of the
pleading or filing, containing an unredacted version of any Confidential Records shall be filed
with the Clerk of the Court in a sealed envelope with the outside marked with the caption of the
case, the identity of the submitting party, and the notation “DOCUMENTS SUBJECT TO
PROTECTIVE ORDER.”

4. Except as otherwise ordered, the documents designated as Confidential Records
shall be maintained in strict confidence by counsel. Confidential Records shall not be used by

counsel or any other person for any purpose other than the litigation of this action. Subject to the

Case 1:18-cV-02435-RDI\/| Document 13 Filed 04/01/19 Page 3 of 6

provisions of Paragraph 5 herein, Confidential Records will not be furnished, shown or disclosed

to any person except:

a. designated legal counsel for a party, including in-house and local counsel, and
paralegal, secretarial and clerical employees of such designated counsel;

b. outside experts or consultants retained for the purpose of assisting counsel in
this litigation; ‘

cr the parties to this litigation and their designated employees and/or
representative(s) participating in or advising on this litigation; and

d. any person designated by the Court in the interest ofjustice, upon such terms
as the Court may seem proper.

Nothing herein shall be deemed to restrict any party or their counsel with respect to: (a) their
own documents and information, and (b) documents or information obtained from a source or
person other than opposing counsel or opposing parties. Counsel are responsible for ensuring
that their legal, paralegal, clerical staff, and their experts and/or consultants comply with this
Protective Order.

5. If any party intends to quote or cite any Confidential Records in court pleadings in
a manner that would disclose the information contained therein, the party will provide no less
than five (5) days’ notice to the other parties. The parties will make a good faith effort to make
an accommodation that will enable the citation of record evidence without disclosing information
that a party wishes to protect as confidential If accommodation cannot be made, it is the burden
of the party asserting confidentiality to justify filing the confidential information under seal
within no later than three (3) days after notification has been provided pursuant to this paragraph
Any such motion to file under seal shall indicate the relevant filing date for the filing at issue,
and request expedited consideration by the Court as to whether the information should be
redacted. lf the party asserting confidentiality fails to move the Court for protection within three

(3) days of receiving notice, the filing party may file the noticed Confidential Records without

Case 1:18-cV-02435-RDI\/| Document 13 Filed 04/01/19 Page 4 of 6

redaction. If the party asserting confidentiality moves the Court to protect the information,
however, the information shall be treated as confidential pending a ruling by the Court, and, in
the interim, the filing party shall file a redacted version of the filing pending a ruling by the
Court.

6. The inadvertent or unintended disclosure of the Confidential Records shall not be
deemed a waiver in whole or in part of the claim of confidentiality for any Confidential Records.

7. The disclosure of any Confidential Records under the terms and conditions of this
Protective Order shall not constitute a waiver of any privileges or confidentialities with respect to
such Confidential Records.

8. This Protective Order in no way affects or relieves any party of its responsibility
to comply with any federal, state, or local law or regulation. Nothing in this Protective Order
alters the rights and/or liabilities of the parties with respect to the litigation, The FDIC
Defendants are excepted from the Right to Financial Privacy Act and the Privacy Act of 1974
requirements by reason ofthis Protective Order, 12 U.S.C. § 3413(d), 5 U.S.C. § 552a(b)(l l),
and 12 C.F.R. § 310.10(b)(l l) (2012).

9. Any party offering any of the Confidential Records into evidence in this litigation,
or in connection therewith, shall offer only those pages or portions thereof that are relevant and
material to the issues in dispute, and shall block out any portion of any page that contains
information not relevant and material to such issues. The confidential, sensitive and/or personal
information of any person or entity contained on any page of the Confidential Records, to the
extent such information is not otherwise relevant and material to the issues in dispute, shall be
blocked out prior to the admission of such page into evidence. If there is disagreement between

the parties to the litigation regarding what page or portion of any page of the Confidential

Case 1:18-cV-02435-RDI\/| Document 13 Filed 04/01/19 Page 5 of 6

Records should be blocked out in the manner described in this paragraph, the Court shall make
this determination after an in camera review of the Confidential Records in question.

10. This Protective Order shall survive the termination of the case and is binding on
all parties until further order of the Court.

ll. The Court may sanction counsel, their staff, or any person who obtained access to
the Confidential Records pursuant to this Protective Order, as appropriate, for violation of this
Protective Order.

12. Counsel may apply to the Court for modification of this Protective Order after
reviewing the documents designated as Confidential Records. lf counsel determines that they
intend to apply to the Court for modification of the Protective Order, they shall nevertheless
continue to abide by the terms of this Protective Order until the Court makes a final ruling on the

matter.

lT IS SO ORDERED.

DATED Washingwn D. c. M_/NH
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Ho ?M)RP\BL\: RANDOLPH D Moss
UN 1513 sTATEs DISTRICT JUDGE

Stipulated and agreed to this 21 st day of March, 2019.

/s/
Erik Bond, Esq.
FEDERAL DEPOSIT INSURANCE
CORPORATION
3501 N. Fairfax Drive
Rooin VS-D-7026

Case 1:18-cV-02435-RDI\/| Document 13 Filed 04/01/19 Page 6 of 6

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/s/

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